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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

 In re:                                                          Chapter 11

 AGSPRING MISSISSIPPI REGION, LLC,                               Case No. 21-11238 (CTG)
 et al.,1
                                                                 (Jointly Administered)
                             Debtors.
                                                                 Re: Docket No. 242

       CERTIFICATION OF NO OBJECTION REGARDING FIRST MONTHLY
          APPLICATION FOR COMPENSATION AND REIMBURSEMENT
         OF EXPENSES OF PACHULSKI STANG ZIEHL & JONES LLP, AS
      CO-COUNSEL FOR THE DEBTORS AND DEBTORS IN POSSESSION FOR
     THE PERIOD FROM SEPTEMBER 10, 2021 THROUGH SEPTEMBER 30, 2021

                  The undersigned hereby certifies that, as of the date hereof, no answer, objection

or other responsive pleading has been received to the First Monthly Application for

Compensation and Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP, as Co-

Counsel for the Debtors and Debtors in Possession for the Period from September 10, 2021

through September 30, 2021 (the “Application”) [Docket No. 242] filed on February 3, 2022.

The undersigned further certifies that the Court’s docket in this case has been reviewed and no

answer, objection or other responsive pleading to the Application appears thereon. Pursuant to

the notice of Application, objections to the Application were to be filed and served no later than

February 24, 2022 at 4:00 p.m. prevailing Eastern Time.

                  Pursuant to the Order (I) Establishing Procedures for Interim Compensation and

Reimbursement of Expenses of Professionals and (II) Granting Related Relief [Docket No. 112]

entered on October 15, 2021, the Debtors are authorized to pay Pachulski Stang Ziehl & Jones


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  The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
Agspring Mississippi Region, LLC (9147); Agspring MS 1, LLC (6456); Agspring MS, LLC (2692); Lake
Providence Grain and Rice LLC (1986); and Bayou Grain & Chemical Corporation (7831). The Debtors’ mailing
address is 5101 College Boulevard, Leawood, KS 66211.



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LLP $174,606.00 which represents 80% of the fees ($218,257.50) and $917.67 which represents

100% of the expenses requested in the Application, for the period from September 10, 2021

through September 30, 2021, upon the filing of this Certification and without the need for entry

of a Court order approving the Application.

Dated: February 28, 2022                      PACHULSKI STANG ZIEHL & JONES LLP

                                              /s/ Mary F. Caloway
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                                              Timothy P. Cairns (Bar No. 4228)
                                              Mary F. Caloway (DE Bar No. 3059)
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                                              -and-

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                                              -and-

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